Case 1:10-cv-00442-CG-M Document 3 Filed 08/12/10 Page 1 of 22         PageID #: 279




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ALABAMA
                               MOBILE DIVISION

WELLS FARGO BANK, National                )
Association,                              )
                                          )
                            Plaintiff,    )
                                          )
v.                                        )         Case No. 10-442
                                          )
STONEBROOK, INC.,                         )
DYAS CONSTRUCTION                         )
MANAGEMENT, LLC, CRAIG                    )
F. DYAS FAMILY LIMITED                    )
PARTNERSHIP, and                          )
CRAIG F. DYAS,                            )
               Defendants.                )


 MOTION FOR APPOINTMENT OF RECEIVER AND INCORPORATED
           SUPPORTING MEMORANDUM OF LAW
         COMES NOW Wells Fargo Bank, National Association, successor-by-

merger to Wachovia Bank, N.A., successor-by-merger to SouthTrust Bank ("Wells

Fargo" or "Plaintiff"), and pursuant to Rule 66 of the Federal Rules of Civil

Procedure, moves the Court for entry of an order substantially in the form of the

proposed Order attached hereto as Exhibit A (the "Proposed Order"), appointing

Warren, Averett, Kimbrough & Marino, LLC, as receiver of the mortgaged

property, commonly known as Stonebrook Office Park, and described more

particularly herein. In support of this Motion, Wells Fargo states as follows:




B MCOMBS 928567 v4
1039341-000180 08/12/2010
Case 1:10-cv-00442-CG-M Document 3 Filed 08/12/10 Page 2 of 22            PageID #: 280




                                       I. Introduction

         1.        Contemporaneously herewith, Wells Fargo has filed with the Court its

Verified Complaint (the "Complaint") requesting the appointment of a receiver,

injunctive relief, and other equitable and legal relief against defendants

Stonebrook, Inc. ("Stonebrook"), Dyas Construction Management, LLC ("Dyas

Construction"), Craig F. Dyas Family Limited Partnership ("Dyas Family LP"),

and Craig F. Dyas ("Dyas", and together with Stonebrook, Dyas Construction, and

Dyas Family, L.P., collectively, the "Defendants").

         2.        The Complaint relates to, among other things, that certain real

property, fixtures, and personal property more particularly described therein, and

more commonly known as Stonebrook Office Park located in Fairhope, Alabama.

         3.        Based on the factual allegations set forth herein, Wells Fargo

respectfully requests the Court enter an order appointing a receiver with all power

and authority requested herein.

                                      II. Background

                                    The Loan Documents

         4.        On or about May 16, 2006, Wells Fargo made a loan to Stonebrook in

the original principal amount of $1,721,251.74 (the "Stonebrook Loan").

         5.        The Stonebrook Loan is evidenced by, among other things, that

certain Promissory Note dated October 19, 2006, made by Stonebrook payable to

                                              2
B MCOMBS 928567 v4
1039341-000180 08/12/2010
Case 1:10-cv-00442-CG-M Document 3 Filed 08/12/10 Page 3 of 22           PageID #: 281




Wells Fargo in the original principal amount of $1,721,251.74 (renewing,

extending, and/or modifying that certain Promissory Note dated June 15, 2006, in

the original principal amount of $1,638,092.77), as modified by that certain

Modification Number One to Promissory Note dated May 19, 2008, entered in to

by and between Stonebrook, Dyas, and Wells Fargo (collectively, the "Stonebrook

Note").        A true and correct copy of the Stonebrook Note is attached to the

Complaint as Exhibit 2 and incorporated herein by reference.

         6.        The Stonebrook Loan is secured by, among other things, that certain

Commercial Guaranty dated December 18, 2003 executed by Dyas in favor of

Wells Fargo, pursuant to which Dyas unconditionally guaranteed all amounts

owing from Stonebrook to Wells Fargo (as assumed, amended, and modified from

time to time, the "Stonebrook Guaranty Agreement"). A true and correct copy of

the Stonebrook Guaranty Agreement is attached to the Complaint as Exhibit 8 and

incorporated herein by reference.

         7.        The Stonebrook Note is secured by among other things, that certain

Mortgage dated October 17, 2003, executed by Dyas Family L.P. in favor of Wells

Fargo, and recorded on October 21, 2003, in the Recording Office at Instrument

766872 (as assumed, amended, and modified from time to time, the "Stonebrook

Mortgage III"), pursuant to which Dyas Family L.P. granted Wells Fargo a security

interest in the real property, personal property, and fixtures more particularly

                                             3
B MCOMBS 928567 v4
1039341-000180 08/12/2010
Case 1:10-cv-00442-CG-M Document 3 Filed 08/12/10 Page 4 of 22           PageID #: 282




described therein (collectively, the "Stonebrook Mortgage III Collateral"),

including without limitation, the Stonebrook Parking Lot (the "Stonebrook Parking

Lot"). A true and correct copy of the Stonebrook Mortgage III is attached to the

Complaint as Exhibit 5 and incorporated herein by reference.

         8.        Stonebrook Mortgage III, which among other things secures the

Stonebrook Parking Lot, provides in part:

         Upon the occurrence of an Event of Default and at any time thereafter,
         [Wells Fargo], at [Wells Fargo's] option, may exercise any one or
         more of the following rights and remedies, in addition to any other
         rights or remedies provided by law:
         Appoint Receiver. [Wells Fargo] shall have the right to have a
         receiver appointed to take possession of all or any part of the
         Property, with the power to protect and preserve the Property, to
         operate the Property preceding foreclosure or sale, and to collect the
         Rents from the Property and apply the proceeds, over and above the
         cost of the receivership, against the Indebtedness. The receiver may
         serve without bond if permitted by law. [Wells Fargo's] right to the
         appointment of a receiver shall exist whether or not the apparent value
         of the Property exceeds the Indebtedness by a substantial amount.
         9.        The Stonebrook Loan is also secured by, among other things, that

certain Construction Mortgage dated January 17, 2002, executed by Stonebrook in

favor of Wells Fargo, and recorded on January 18, 2002, in the Recording Office at

Instrument 637936 (as assumed, amended, and modified from time to time, the

"Stonebrook Mortgage IV"), pursuant to which Stonebrook granted Wells Fargo a

security interest in the real property, personal property, and fixtures more

particularly described therein (collectively, the "Stonebrook Mortgage IV

                                            4
B MCOMBS 928567 v4
1039341-000180 08/12/2010
Case 1:10-cv-00442-CG-M Document 3 Filed 08/12/10 Page 5 of 22           PageID #: 283




Collateral"), including without limitation, the Stonebrook Office Buildings (the

"Stonebrook Office Buildings", and together with the Stonebrook Parking Lot,

collectively, the "Stonebrook Office Park"). A true and correct copy of the

Stonebrook Mortgage IV is attached to the Complaint as Exhibit 6 and

incorporated herein by reference.

         10.       Stonebrook Mortgage IV, which among other things secures the

Stonebrook Office Buildings, provides in part:

         Upon the occurrence of an Event of Default and at any time thereafter,
         [Wells Fargo], at [Wells Fargo's] option, may exercise any one or
         more of the following rights and remedies, in addition to any other
         rights or remedies provided by law:
         Appoint Receiver. [Wells Fargo] shall have the right to have a
         receiver appointed to take possession of all or any part of the
         Property, with the power to protect and preserve the Property, to
         operate the Property preceding foreclosure or sale, and to collect the
         Rents from the Property and apply the proceeds, over and above the
         cost of the receivership, against the Indebtedness. The receiver may
         serve without bond if permitted by law. [Wells Fargo's] right to the
         appointment of a receiver shall exist whether or not the apparent value
         of the Property exceeds the Indebtedness by a substantial amount.

         11.       The Stonebrook Loan is also secured by, among other things, that

certain Mortgage and Assignment of Rents dated May 16, 2006, executed by Dyas

Family, L.P. in favor of Wells Fargo, and recorded on May 25, 2006, in the

Recording Office at Instrument No. 977528, which was re-recorded on June 21,

2006, in the Recording Office at Instrument No. 983009 (as assumed, amended,

and modified from time to time, collectively, the "Stonebrook Mortgage V", and

                                            5
B MCOMBS 928567 v4
1039341-000180 08/12/2010
Case 1:10-cv-00442-CG-M Document 3 Filed 08/12/10 Page 6 of 22           PageID #: 284




together with Stonebrook Mortgage III and Stonebrook Mortgage IV, collectively,

the "Stonebrook Receiver Mortgages"), pursuant to which the Dyas Family, L.P.

granted Wells Fargo a security interest in the real property, personal property, and

fixtures more particularly described therein (collectively, the "Stonebrook

Mortgage V Collateral", and together with the Stonebrook Mortgage III Collateral

and the Stonebrook Mortgage IV Collateral, collectively, the "Receiver

Collateral"), including without limitation, the Stonebrook Parking Lot. A true and

correct copy of the Stonebrook Mortgage V is attached to the Complaint as

Exhibit 7 and incorporated herein by reference.

         12.       Stonebrook Mortgage V, which secures the Stonebrook Parking Lot,

provides:

         Failure of Mortgagor or any other person liable to timely pay or
         perform any of the Obligations is a default ("Default") under this
         Mortgage. Upon the occurrence of a Default the following remedies
         are available:
         (iii) [Wells Fargo] may apply to any court of competent jurisdiction
         for the appointment of a receiver for all purposes including, without
         limitation, to manage and operate the Property or any part thereof, and
         to apply the Rents therefrom as hereinabove provided. In the event of
         such application, Mortgagor consents to the appointment of a receiver,
         and agrees that a receiver may be appointed without notice to
         Mortgagor, without regard to whether Mortgagor has committed
         waste or permitted deterioration of the Property, without regarding to
         the solvency of Mortgagor or any other person, firm, or corporation
         who or which may be liable for the payment of the Obligations.




                                            6
B MCOMBS 928567 v4
1039341-000180 08/12/2010
Case 1:10-cv-00442-CG-M Document 3 Filed 08/12/10 Page 7 of 22            PageID #: 285




         13.       Pursuant to that certain Absolute Assignment of Leases and Rents

dated April 24, 2009, executed by Dyas in favor of Wells Fargo, recorded on April

27, 2009, in the Recording Office at Instrument No. 1174152 (the "Assignment of

Rents", and together with the Stonebrook Receiver Mortgages, collectively, the

"Receiver Agreements"), Dyas absolutely assigned and transferred to Wells Fargo

all present and future leases, subleases, licenses, or occupancy agreements of the

property more particularly described therein, including without limitation, the

Stonebrook Office Park. A true and correct copy of the Assignment of Rents is

attached to the Complaint as Exhibit 22 and incorporated herein by reference.

         14.       The Assignment of Rents provides:

         Notwithstanding that this Assignment is effective immediately, so
         long as there shall exist no default by [Dyas] in the payment and
         performance of the Obligations or in the performance of any
         obligation or agreement in any Lease (each, a "Default"), [Dyas] shall
         have the privilege under a revocable license to collect as they become
         due, but not prior to accrual, all Rents from the Property and to
         receive and hold the same. [Dyas] shall receive and hold such Rents in
         trust as a fund to be applied to the payment of real estate taxes,
         insurance, maintenance, repair and Lease obligations with respect to
         the Property and to the payment of interest and principal and other
         sums becoming due under the Obligations, before retaining and/or
         disbursing any part of the Rents for any other purpose.

         15.       The Assignment of Rents also provides:

         Upon any occurrence of default, . . . Bank shall have the right, in its
         discretion, without notice, by agent or by a receiver appointed by the
         court, and without regard to the adequacy of security for the
         Obligations, to (i) enter upon and take possession of the Property, (ii)
         notify tenants, subtenants and any property manager to pay Rents to
                                             7
B MCOMBS 928567 v4
1039341-000180 08/12/2010
Case 1:10-cv-00442-CG-M Document 3 Filed 08/12/10 Page 8 of 22            PageID #: 286




         the Bank or its designee . . . , (iv) have, hold, manage, lease and
         operate the Property . . . .
                                        The Defaults

         16.       The Stonebrook Loan is in default due to, among other things,

Stonebrook's failure to pay the full installments of principal, interest and other

payments when due and owing as required under the Loan Documents.

         17.       As a result of Stonebrook's failure to pay the amounts due and owing

under the Stonebrook Note, Wells Fargo declared the Stonebrook Note to be in

default and demanded repayment of all amounts due and owing thereunder,

including without limitation, all principal, interest, fees, and attorneys' fees and

expenses (collectively, the "Obligations"), pursuant to a Notice of Default and

Demand for Payment letter (the "Stonebrook Demand Letter") dated November 5,

2008. A true and correct copy of the Stonebrook Demand Letter is attached to the

Complaint as Exhibit 17 and incorporated herein by reference.

         18.       Pursuant to the Loan Documents (as defined in the Complaint),

including without limitation, the Assignment of Rents, upon the default of

Stonebrook and Dyas under the Loan Documents, Wells Fargo revoked

Defendants' license to collect and retain the Rents (as defined in the Assignment of

Rents).

         19.       As of the date hereof, however, Stonebrook and Dyas have failed and

refused to satisfy the Obligations.

                                              8
B MCOMBS 928567 v4
1039341-000180 08/12/2010
Case 1:10-cv-00442-CG-M Document 3 Filed 08/12/10 Page 9 of 22            PageID #: 287




         20.       Wells Fargo is entitled to collect the Rents and apply the same in

accordance with the Loan Documents.

         21.       Wells Fargo has made demands for Defendants to turn over the Rents

and cease collecting Rents.

         22.       Defendants have continued to collect the Rents, including without

limitation, that certain lease termination payment in the amount of $11,250.00 paid

by a former tenant of the Stonebrook Office Park, Klumb Lumber Company, to

Dyas on or about January 2010 (collectively, the "Converted Rents").

         23.       Wells Fargo made demand upon Dyas to surrender the Converted

Rents by that certain Notice of Default and Demand for Payment letter dated

March 10, 2010 (the "Rents Demand Letter"). A true and correct copy of the Rents

Demand Letter is attached hereto as Exhibit B.

         24.       Dyas failed to comply with the Rents Demand Letter and surrender

the Converted Rents.

         25.       Wells Fargo reasonably believes that Defendants may have converted

other Rents and that Wells Fargo's interest in the Rents is endangered.

         26.       In addition, Defendants have failed to pay when due all taxes levied

against the Stonebrook Office Park as it is required to do under the Loan

Documents, including without limitation, when the Stonebrook Office Park was




                                              9
B MCOMBS 928567 v4
1039341-000180 08/12/2010
Case 1:10-cv-00442-CG-M Document 3 Filed 08/12/10 Page 10 of 22            PageID #: 288




sold at a tax sale for Dyas' and Dyas Family, L.P.'s failure to pay the 2009 real

estate taxes when due and owing.

         27.       Defendants have also breached their duty under the Loan Documents

to maintain the Stonebrook Office Park by failing to perform all repairs,

replacements, and maintenance necessary to preserve its value, including without

limitation, failure to timely repair the air conditioning unit for another former

tenant of the Stonebrook Office Park, Boan Contracting Co., Inc. ("Boan"), as well

failure to timely repair an office elevator that resulted in Boan ending its tenancy at

the Stonebrook Office Complex.

         28.       In summary, Defendants have failed to satisfy its Obligations under

the Loan Documents and have refused to protect and preserve Wells Fargo's

Receiver Collateral, leaving Wells Fargo no choice but to ask that a receiver be

appointed for the management of the Stonebrook Office Park.

                            III. Argument for Appointment of a Receiver

         29.       Wells Fargo seeks appointment of a receiver to take control of the

Receiver Collateral, including without limitation, the Stonebrook Office Park, and

to protect the interests of Wells Fargo in and to the Receiver Collateral.

         30.       A receiver is a "neutral court officer appointed by the court to take

control, custody, or management of property that is involved in or is likely to

become involved in litigation for the purpose of undertaking any . . appropriate

                                                10
B MCOMBS 928567 v4
1039341-000180 08/12/2010
Case 1:10-cv-00442-CG-M Document 3 Filed 08/12/10 Page 11 of 22              PageID #: 289




action." Sterling v. Stewart, 158 F.3d 1199, 1201 n.2 (11th Cir. 1998) (quoting

Charles A. Wright, Arthur R. Miller, & Richard L. Marcus, Federal Practice &

Procedure, § 2981, at 5 (1973)).

         31.       A federal district court has the power in equity to appoint a receiver.

Fed. R. Civ. P. 66; Nat'l P'ship Inv. Corp. v. Nat'l Hous. Dev. Corp., 153 F.3d 1289

(11th Cir. 1998). Furthermore, the appointment of a receiver is committed to the

sound discretion of the district court. See Santibanez v. Wier McMagon & Co.,

105 F.3d 234, 241 (5th Cir. 1997); Aviation Supply Corp. v. R.S.B.I. Aerospace,

Inc., 999 F.2d 314, 316-17 (8th Cir. 1993). The appointment of a receiver in a

diversity case is a procedural matter governed by federal law and federal equitable

principals. Nat'l P'ship Inv. Corp., 153 F.3d at 1291-92.

         32.       Pursuant to Rule 66, anyone demonstrating an interest in the property

or a relationship to the owner or party in control of the property may seek the

appointment of a receiver. Santibanez, 105 F.3d at 241.

         33.       "Creditors with a security interest in real property have a well-

established interest in the property sufficient to support the appointment of a

receiver." Brill & Harrington Investments v. Vernon Sav. & Loan Ass'n, 787

F.Supp. 250, 253 (D.D.C. 1992) (citing 12 C.Wright & A. Miller, Federal Practice

and Procedure § 2983 (1973)); Williams v. Southern Cotton Oil Co., 45 F.2d 387,




                                              11
B MCOMBS 928567 v4
1039341-000180 08/12/2010
Case 1:10-cv-00442-CG-M Document 3 Filed 08/12/10 Page 12 of 22            PageID #: 290




388 (5th Cir. 1930); see also View Crest Garden Apartments v. United States, 281

f.2d 844 (9th Cir. 1960).

         34.       Wells Fargo is entitled to a receiver on two separate and independent

grounds.

         A.    Wells Fargo is Contractually Entitled to the Appointment of a
         Receiver

         35.       Wells Fargo has a contractual right under the Receiver Agreements to

the appointment of a receiver for the Receiver Collateral, including without

limitation, the Stonebrook Office Park.

         36.       Events of Default have occurred and are continuing under the Loan

Documents, including without limitation, the Receiver Agreements.

         37.       Even though Wells Fargo is not required to give notice of any Default

before having a receiver appointed, Defendants received notice of the events of

default as a result of the Notice of Default sent by Wells Fargo dated November 5,

2008, as well as the Rents Demand Letter, and various other communications

between Wells Fargo and Defendants.

         38.       Federal courts have recognized that the appointment of a receiver is

appropriate where parties have contractually agreed to a receivership. See, e.g.

Britton v. Green, 325 F.2d 377, 382 (10th Cir. 1963); Garden Homes, Inv. v. U.S.,

207 F.2d 459, 460 (1st Cir. 1953). See also Citibank N.A. v. Nyland, Ltd., 839 F.2d

93, 97 (2d Cir. 1988) (holding that it is entirely appropriate for a mortgage holder
                                              12
B MCOMBS 928567 v4
1039341-000180 08/12/2010
Case 1:10-cv-00442-CG-M Document 3 Filed 08/12/10 Page 13 of 22            PageID #: 291




to seek the appointment of a receiver where the mortgage authorizes such

appointment, and the mortgagor has repeatedly defaulted on conditions of the

mortgage which constitute one or more events of default); Pioneer Capital Corp. v.

Environamics Corp., 2003 WL 345349, *9 (D. Me. 2003) (concluding that "the

existence of an express contractual right to appointment of a receiver, coupled with

'adequate prima facie evidence of a default,' can be sufficient to warrant such an

appointment").

         39.       In this case the parties contractually agreed to the appointment of a

receiver as set forth in the Receiver Agreements. Pursuant to the Receiver

Agreements, Defendants irrevocably consented to the appointment of a receiver.

As a result, the Court should grant Wells Fargo's motion to appoint a receiver.

         B.    Wells Fargo is Entitled to the Appointment of a Receiver Pursuant to
         the Court's Legal and Equitable Powers

         40.       In addition to being contractually entitled to the appointment of a

receiver, Wells Fargo is entitled to the appointment of a receiver for the Receiver

Collateral, including without limitation, the Stonebrook Office Park, pursuant to

the Court's legal and equitable powers.

         41.       Courts consider the following factors to determine the need for a

receivership: (1) the existence of a valid claim by the party seeking the

appointment; (2) fraudulent conduct by the defendant; (3) imminent danger that

property will be concealed, lost, or diminished in value; (4) inadequacy of other
                                              13
B MCOMBS 928567 v4
1039341-000180 08/12/2010
Case 1:10-cv-00442-CG-M Document 3 Filed 08/12/10 Page 14 of 22             PageID #: 292




available legal remedies; (5) the probability that harm to plaintiff by denial of the

appointment would be greater than the injury to the parties opposing appointment;

(6) plaintiff's probable success in the action; and (7) the possibility of irreparable

injury to the plaintiff's interest in the property. See Consolidated Rail Corp. v.

Fore River Ry. Co., 861 F.2d 322, 326-27 (1st Cir. 1988); Santibanez, 105 F.3d at

241-42; Waag v. Hamm, 10 F.Supp.2d 1191, 11931 (D. Colo. 1998).

         42.       Wells Fargo has valid claims against each of the Defendants for

amounts due and owing under the Loan Documents.

         43.       There is imminent danger that the Rents may be lost, squandered,

concealed, injured, or decline in value and that the Stonebrook Office Park will

incur waste and diminution of value. Defendants have, among other things, failed

to properly remit Rents to Wells Fargo, have failed to pay taxes when due and

owing on the Stonebrook Office park, and have allowed the Stonebrook Office

Park to fall into disrepair, resulting in the loss of tenants in the Stonebrook Office

Park that can pay rent to Wells Fargo.

         44.       Due to the inability of Defendants to pay their obligations when they

have come due and due to the Converted Rents, the appointment of a receiver is

the only adequate remedy available to Wells Fargo.

         45.       Wells Fargo's success in this matter is certain. Defendants possess no

cognizable defenses to Wells Fargo's contractual claims.

                                              14
B MCOMBS 928567 v4
1039341-000180 08/12/2010
Case 1:10-cv-00442-CG-M Document 3 Filed 08/12/10 Page 15 of 22            PageID #: 293




         46.       Even if any conceivable harm were posed to Defendants, it is

outweighed by the likely harm to Wells Fargo in the form of the continued

deterioration of the Receiver Collateral, conversion of additional Rents, and the

loss of additional tenants resulting from Defendants' continuing failures to

maintain and preserve the Receiver Collateral, resulting in reduced rents available

to pay down on the Obligations.

         47.       Wells Fargo is willing to post a bond in an amount the Court deems

appropriate for the appointment of the receiver. However, due to undisputable

evidence of the Defendants' perilous financial condition and the imminent risk of

waste and diminution in value, Wells Fargo believes that a bond is unnecessary.

         C.        Identity, Qualifications, and Powers of the Receiver

         48.       Wells Fargo respectfully requests that the Court appoint the firm of

Warren, Averett, Kimbrough & Marino, LLC ("Warren Averett"), with Jesse D.

Slaton ("Mr. Slaton") as the primary contact, as receiver of the Property, and all

improvements, fixtures, and personal property thereto.

         49.       Wells Fargo submits the declaration of Mr. Slaton, attached hereto as

Exhibit C, further describing Warren Averett's ability and willingness to serve as

the receiver in this action ("Slaton Declaration").

         50.       Wells Fargo requests that the Receiver, at Defendants' expense, have

all of the usual powers and duties of receivers in similar cases, including, without

                                              15
B MCOMBS 928567 v4
1039341-000180 08/12/2010
Case 1:10-cv-00442-CG-M Document 3 Filed 08/12/10 Page 16 of 22            PageID #: 294




limitation, the full power to hold, develop, rent, lease, manage, maintain, operate,

market, sell and otherwise use or permit the use of the Receiver Collateral,

including without limitation, the Stonebrook Office Park, subject to Wells Fargo's

approval, including without limitation (collectively, the "Receiver's Powers"):

         (a) enter upon and take possession and control of any and all of the
         Receiver Collateral, including without limitation, the Stonebrook
         Office Park;

         (b) take and maintain possession of all documents, books, records,
         papers and accounts relating to the Receiver Collateral, including
         without limitation, the Stonebrook Office Park;

         (c) exclude Defendants and their agents, servants and employees
         wholly from the Receiver Collateral, including without limitation, the
         Stonebrook Office Park;

         (d) manage and operate the Receiver Collateral, including without
         limitation, the Stonebrook Office Park;

         (e) preserve and maintain the Receiver Collateral, including without
         limitation, the Stonebrook Office Park;
         (f) make repairs and alterations to the Receiver Collateral, including
         without limitation, the Stonebrook Office Park;

         (g) complete any construction or repair of the Receiver Collateral,
         including without limitation, the Stonebrook Office Park, with such
         changes, additions or modifications of the plans and specifications or
         intended disposition and use of the Collateral as Wells Fargo may in
         its sole discretion deem appropriate or desirable to place the Property
         in such condition as will, in Wells Fargo's sole discretion, make it or
         any part thereof readily marketable or rentable;

         (h) conduct a marketing or leasing program with respect to the
         Receiver Collateral, including without limitation, the Stonebrook
         Office Park, or employ a marketing or leasing agent or agents to do
         so, directed to the leasing or sale of the Receiver Collateral under such

                                            16
B MCOMBS 928567 v4
1039341-000180 08/12/2010
Case 1:10-cv-00442-CG-M Document 3 Filed 08/12/10 Page 17 of 22             PageID #: 295




         terms and conditions as Wells Fargo may in its sole discretion deem
         appropriate or desirable;
         (i) employ such contractors, subcontractors, materialmen, architects,
         engineers, consultants, managers, brokers, marketing agents, or other
         employees, agents, independent contractors or professionals, as Wells
         Fargo may in its sole discretion deem appropriate or desirable to
         implement and effectuate the rights and powers granted therein;
         (j) execute and deliver, as attorney-in-fact and agent of Defendants or
         in Defendants' own names, such documents and instruments as are
         necessary or appropriate to consummate authorized transactions;

         (k) enter into such leases, whether of real or personal property, or
         tenancy agreements, under such terms and conditions as Wells Fargo
         may in its sole discretion deem appropriate or desirable;
         (l) collect and receive the Rents from the Receiver Collateral,
         including without limitation, the Stonebrook Office Park;
         (m) eject tenants or repossess personal property, as provided by law,
         for breaches of the conditions of their leases or other agreements;

         (n) sue for unpaid Rents, payments, income or proceeds in the name
         of Defendants or Wells Fargo;

         (o) maintain actions in forcible entry and detainer, ejectment for
         possession and actions in distress for Rents;
         (p) compromise or give acquittance for Rents, payments, income or
         proceeds that may become due;

         (q) require any and all officers, directors, managers, agents,
         representatives, independent contractors, partners, affiliates, attorneys,
         accountants, shareholders and employees of Defendants to return any
         and all Rents in their possession;

         (r) analyze and determine the best approach to maximize value from
         the Receiver Collateral, including without limitation, the Stonebrook
         Office Park, for the benefit of Defendants' creditors and interest
         holders, including without limitation, marketing and selling the
         Receiver Collateral as a going concern, subject to Wells Fargo's prior

                                            17
B MCOMBS 928567 v4
1039341-000180 08/12/2010
Case 1:10-cv-00442-CG-M Document 3 Filed 08/12/10 Page 18 of 22            PageID #: 296




         written approval, provided, however, that in no event shall Receiver's
         power to sell the property, or any other power requested hereunder, in
         anyway impair Wells Fargo's ability to exercise its rights and
         remedies under the Loan Documents, including, without limitation,
         the right to foreclose upon any of the Stonebrook Mortgages (as
         defined in the Complaint);

         (s) do any acts which Wells Fargo in its sole discretion deems
         appropriate or desirable to protect the security hereof and use such
         measures, legal or equitable, as Wells Fargo in its sole discretion
         deem appropriate or desirable to implement and effectuate the
         provisions of the Stonebrook Mortgages (as defined in the
         Complaint).
         51.       Wells Fargo requests that the receiver be further authorized to apply

the revenues collected by such receiver in connection with the management and

operation of the Receiver Collateral, including without limitation, the Stonebrook

Office Park, first to the receiver's compensation as discussed below; second to the

other costs and expenses of the receivership, including any management fees,

attorneys' fees, and other out-of-pocket expenses incurred by the receiver in

connection with the receivership; third to the costs of operating, maintaining, and

repairing the Receiver Collateral (including but not limited to customary salaries

and expenses of non-site employees of the receiver, but excluding all salaries and

expenses of all employees, agents and affiliates of the receiver whose duties are

not limited to operation or management of the Receiver Collateral); fourth to repay

all sums advanced to the receiver by Wells Fargo; fifth to payment of expenses of

the Receiver Collateral, including but not limited to payment of real and personal


                                              18
B MCOMBS 928567 v4
1039341-000180 08/12/2010
Case 1:10-cv-00442-CG-M Document 3 Filed 08/12/10 Page 19 of 22            PageID #: 297




property taxes, insurance, water and sanitation bills and operation expenses; sixth

whenever sufficient funds are available for such purpose, the Receiver shall make

principal and interest payments toward any loans which are secured by a lien on

the property; if such loans were authorized under the terms and conditions of the

Stonebrook Note and Stonebrook Mortgages (as defined in the Complaint), in

order of their first priority, including but not limited to the Stonebrook Note and

Stonebrook Mortgages held by Wells Fargo in this action; and seventh to a fund to

be held by the receiver in an interest-bearing account pending further order of this

Court.

         52.       Wells Fargo reserves the right to make future requests that the Court

expand the Receiver's Powers should the same be deemed necessary.

         53.       Wells Fargo requests that receipts received from the operation of the

Receiver Collateral be applied to reimburse the Receiver for all reasonable costs

and expenses that it (or its delegates) incur as a result of serving as receiver, for

payment of insurance premiums and management fees authorized thereunder, to

compensate Receiver for its services as receiver, and for payment of all

Obligations.

         54.       Wells Fargo requests that this Court enter its order providing that

Receiver shall be paid a fee equal to $270.00 per hour for time spent by Mr. Slaton

directing management and leasing activities and reporting on the Receiver

                                              19
B MCOMBS 928567 v4
1039341-000180 08/12/2010
Case 1:10-cv-00442-CG-M Document 3 Filed 08/12/10 Page 20 of 22            PageID #: 298




Collateral, plus reimbursement for out-of-pocket costs and reasonable travel

expenses incurred by Mr. Slaton in connection with his duties as receiver (the

"Receiver Fee").

         55.       Wells Fargo requests that the Court enter its order setting forth the

process for paying the Receiver Fee to the Receiver from the operations of the

Receiver Collateral. Each month the Receiver shall provide the parties with an

invoice detailing the calculation of the Receiver Fee for that month. Objections to

any invoice shall (a) be in writing; (b) be sent to the Receiver within five (5)

business days of the date of the invoice; and (c) describe, in detail, the factual basis

for each specific entry subject to such objection. If the Receiver receives a timely

objection, the Receiver shall endeavor to resolve any such dispute prior to payment

of the next monthly Receiver Fee payment. If a timely objection is not resolved

prior to the next Receiver Fee payment, either party of the Receiver may file a

motion and present the matter to this Court for resolution.

         WHEREFORE, Wells Fargo requests that the Court enter an Order,

substantially similar to the Proposed Order attached hereto, providing for the

immediate appointment of Warren Averett to serve as Receiver to take possession

of the Receiver Collateral, including without limitation, the Stonebrook Office

Park, to preserve, maintain and protect the Receiver Collateral and to take such

other action as the Court deems appropriate in these circumstances.

                                              20
B MCOMBS 928567 v4
1039341-000180 08/12/2010
Case 1:10-cv-00442-CG-M Document 3 Filed 08/12/10 Page 21 of 22   PageID #: 299




                                   /s/ W. Patton Hahn
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                                     21
B MCOMBS 928567 v4
1039341-000180 08/12/2010
Case 1:10-cv-00442-CG-M Document 3 Filed 08/12/10 Page 22 of 22       PageID #: 300




                              Certificate of Service

      I hereby certify that on August 12, 2010, a copy of the foregoing has been
served on the following by Federal Express and United States Mail, First-Class
postage prepaid.

Craig F. Dyas Family Limited Partnership
23210 US Highway 98
Fairhope, Alabama 36532-3397

Stonebrook Inc.
23210 US Highway 98
Fairhope, Alabama 36532-3397

Craig F. Dyas
23210 US Highway 98
Fairhope, Alabama 36532-3397

Dyas Construction, LLC
23210 US Highway 98
Fairhope, Alabama 36532-3397

                                         /s/ W. Patton Hahn
                                         OF COUNSEL




                                        22
B MCOMBS 928567 v4
1039341-000180 08/12/2010
